

People v Webb (2020 NY Slip Op 05697)





People v Webb


2020 NY Slip Op 05697


Decided on October 13, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 13, 2020

Before: Webber, J.P., Mazzarelli, Oing, Shulman, JJ. 


SCI. No. 1955/15, 2316/16 Appeal No. 12033 Case No. 2017-1825 

[*1]The People of the State of New York, Respondent,
vHenry Webb, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Heidi Bota of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Christopher M. Pederson of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Marc V. Whiten, J. and Efrain Alvarado, J., at plea; Ralph A. Fabrizio, J., at sentence), rendered November 10, 2016,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 13, 2020
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








